 
    

        
		
        

        
        
        
        
        

        
		
        	
		DETAR v. STATE



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:DETAR v. STATE

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				DETAR v. STATE2021 OK CR 34Case Number: F-2019-351Decided: 10/14/2021JUSTIN CECIL DETAR, Appellant v. THE STATE OF OKLAHOMA, Appellee

Cite as: 2021 OK CR 34, __  __

				

ORDER VACATING PREVIOUS OPINIONAFFIRMING JUDGMENT AND SENTENCEAND WITHDRAWING OPINION FROM PUBLICATION
¶1 The previous opinion affirming Appellant's judgment and sentence in this case is hereby VACATED and SET ASIDE based upon questions of state jurisdiction in this matter. See McGirt v. Oklahoma, 140 S.Ct. 2452 (2020). The issuance of the mandate was withdrawn by order dated May 14, 2021, and the case remains pending on rehearing before the Court. The opinion in Detar v. State, 2021 OK CR 9, 489 P.3d 70 is WITHDRAWN. The Court will issue a separate opinion addressing the dispositive issues in Appellant's appeal at a later time.
¶2 IT IS SO ORDERED.
¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 14th day of October, 2021.
/s/SCOTT ROWLAND, Presiding Judge
/s/ROBERT L. HUDSON, Vice Presiding Judge
/s/GARY L. LUMPKIN, Judge
/s/DAVID B. LEWIS, Judge
ATTEST:/s/John D. HaddenClerk




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 9, WITHDRAWNDiscussed


	
	








				
					
					
				

		
		




	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
